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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

       Thomas Fowler
                                                   *
                         Plaintiff,
                                                   *
                         v.                                   Case No. 1:21-cv-02430-JRR
                                                   *
       Tenth Planet, Inc. et al.
                                                   *
                         Defendants.

*      *        *        *       *     *       *       *      *       *       *       *      *

                                 MEMORANDUM TO COUNSEL

       This memorandum provides important information and instructions regarding scheduling

and trial preparation.


I.     JOINT PROPOSED PRE-TRIAL SCHEDULING ORDER

         The parties shall submit a jointly proposed pre-trial schedule using the attached draft
scheduling order as guidance. The parties shall indicate whether the action is proceeding as a
bench or jury trial, the expected length of trial, and provide the court with three dates on which
the parties are available to begin the trial. In order to ensure prompt attention by the court, once
the proposed scheduling order has been entered, any requests for modifications shall be made by
filing a motion via ECF within 14 days of issuance of the scheduling order. The party proposing
the modification shall indicate whether the modification is consented to in the motion. The
jointly proposed pre-trial scheduling order shall be filed via ECF by Wednesday, October 25,
2023.

II.     JOINTLY PROPOSED PRE-TRIAL ORDER

        The pre-trial order must comply with all provisions of Local Rule 106. The parties shall
submit a jointly proposed pre-trial order by the date set forth in the scheduling order that includes
the following:

         1.   Plaintiff’s statement of facts and legal theories.
         2.   Defendant’s statement of facts and legal theories.
         3.   Similar statements at to any counterclaim, crossclaim, or third-party claim.
         4.   Any amendments required of the pleadings.
         5.   Any issue in the pleadings that is to be abandoned.
         6.   Stipulations of fact.
         7.   Damages claimed.
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        8. Exhibits lists.
        9. Witness lists.
        10. Expert witnesses
        11. Deposition designations.
        12. Any other pretrial relief, including a reference to pending motions, which is
            requested.
        13. Any other matters added by the court.

III.    MOTIONS IN LIMINE

         All motions in limine must include a certification that counsel met and conferred in a
genuine and earnest effort to resolve the dispute that is the subject of the motion. Further, each
motion in limine must indicate clearly on the first page whether the motion bears upon counsel’s
anticipated opening statement.

IV.     VOIR DIRE, JURY INSTRUCTIONS, AND VERDICT FORMS

        The parties shall submit jointly proposed voir dire and jury instructions. If the parties are
unable to reach agreement, the proposal shall identify requests about which the parties do not
agree, indicating which party is making the request and which party objects. This pertains to both
voir dire and jury instructions. The parties may submit individually proposed verdict sheets. All
proposed voir dire questions, jury instructions, and verdict forms shall be filed electronically via
the CM/ECF system, submitted in hard copy to chambers, and emailed as Microsoft Word
documents to: MDD_JRRChambers@mdd.uscourts.gov

        Proposed jury instructions shall: (1) be typed one per page; (2) be numbered and assembled
in the order in which you request they be read to the jury; and (3) include a citation of the
authorities supporting the instruction. Ordinarily, requests for jury instructions should be based
on Sand, Siffert, et al., Modern Federal Jury Instructions, O’Malley, et al., Federal Jury Practice
and Instructions, or, if applicable, Maryland Pattern Jury Instructions. Submissions shall be in
Microsoft Word format with any changes or modifications made using the “Track Changes”
function.

V.      SCHEDULING CONFERENCE

        If any party wishes to have a pre-trial conference, or to request any other trial-related
assistance, please notify chambers following consultation with opposing counsel.

VII.   GUARANTEEING WITNESS AVAILABILITY

       Absent emergency circumstances, a party will guarantee the presence at trial of any witness
that party lists in the pretrial order, in accordance with Local Rule 106.2.i., as “expecting to
present” at trial.




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VIII. EXHIBITS

        The parties shall advise the court at the pretrial conference if there are any objections to
the documents and exhibits listed in the pre-trial order in accordance with Local Rule 106.2.g.
Any objections not disclosed at that time, other than objections under FED. R. EVID. 401 and 403,
shall be deemed waived at trial, unless excused for good cause shown. FED. R. CIV. P. 26(a)(3).

        The parties shall provide three (3) courtesy copies of joint trial exhibit binders for use by
the court room deputy, the witness, and the bench. The binders shall be numbered as one in a
series (e.g., 1 of 2, 2 of 2). Each binder shall include a full table of contents of all exhibits. All
trial exhibits shall be tagged and numbered prior to trial in accordance with Local Rule 106.7.a.
The parties shall meet with one another prior to trial to review and make available for copying one
another’s exhibits in accordance with Local Rule 106.7.b. In addition, the parties shall provide
impeachment exhibits each intends to offer into evidence at trial. Impeachment exhibits need not
be disclosed to other parties.

IX.    USE OF COURTROOM EQUIPMENT

       The court has available for your use an electronic evidence presentation system, as well as
a DVD player and video monitors. If you would like to set up an information session with the
Information Technology Department about the available technology in the courtroom, please
contact chambers at least a month before trial to coordinate. More information can be found on
our court’s website: https://www.mdd.uscourts.gov/courtroom-technology. Please be prepared to
advise me at the conference if you would like to use any courtroom equipment at trial.

X.     TRIAL CONDUCT

       The parties shall familiarize themselves with, and abide by, the provisions of Local Rule
107 concerning trial conduct.

X.     SETTLEMENT

        Unless the court is notified of any settlement no later than one full business day prior to
the day on which the trial is scheduled to begin, jury costs will be imposed in accordance with
Local Rule 107.4. Ordinarily, in civil cases, 25–28 potential jurors are called as members of the
venire panel and the cost per juror is approximately $70.

       Although informal, this is an order of the court and shall be docketed as such.


Date: October 11, 2023                                              /S/
                                                      Julie R. Rubin
                                                      United States District Judge




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)


[Plaintiff],

               Plaintiff,
                                                             Civil Action No.
        v.

[Defendant]
               Defendant.




                               [PROPOSED] PRETRIAL SCHEDULING ORDER

                            Event Description                                Deadline

        Plaintiff’s Rule 26(a)(2) disclosures

        Defendant’s Rule 26(a)(2) disclosures

        Plaintiff’s Rule 26(a)(2) rebuttal disclosures

        Plaintiff’s supplementation of Rule 26(e)(2)
        disclosures and responses
        Close of expert discovery

        Plaintiff’s draft pre-trial order due to Defendant

        Motions in limine

        Defendant’s proposed revisions and additions to
        pre-trial order due to Plaintiff
        Oppositions to motions in limine

        Replies to oppositions to motions in limine

        Parties’ jointly proposed pre-trial order

        Proposed voir dire, jury instructions, and special
        verdict forms
        Pretrial conference/motions in limine hearing

        Jury trial (include APPROXIMATE
        DURATION)
